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* t _Case 2:99-cV-O4612-R-I\/|C Documer`it`Zi€J Filed 03/19/03 Page 1 of 4 Page |D #:1@
JUDGMENT

 
   
     

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CLERK, U 5. D$STR|CT COURT

  

 

UNI'I'ED STATES COURT OF APPE S
FOR THE NINTH CIRCUIT m |g am
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NO. 02-564'76
C'I`/AG#: CV-99-04612~R. /

GEORGE DOWNING, an individual; PAUL STRAUCH, an individual;
RICHARD BUFF`ALO KEAULANA, an individual; BEN AIPA, an

individual; MIKE DOYLE, an individual; JOEY CABELL, an
individual

Plaintiffs

and

RICK STEERE, an individual

Plaintiff - Appellant

V.

 

ABERCROMBIE & FITCH, an Ohio corporation

Defendant - Appellee

APPEAL FROM the United States District Court for the

Central District of California, Los'Angeles

ON CONSIDERATION WHEREOF, It is now here ordered and

adjudged by this Court, that the Appeal in this cause

be, and hereby is dismissed for lack of jurisdiction.

Filed and entered February 18, 2003

 

 

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Clerk of Court

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FEB 1 s 2003
FoR THE NINTH CIRCUIT °**_HYA. cmi

UNITED STATES COURT OF APPEALS

 

GEORGE DOWNING, an individual', et al., No. 02-56476
Plaintiffs, D.C. No. CV-99-04612-R
Central District of California,
and, Los Angeles

RICK STEERE, an individual, .
ORDER
Plaintiff - Appellant,

V.

ABERCROMBIE & FITCH, an Ohio
corporation,

Defendant - Appellee.

 

 

Before: LEAVY, FERNANDEZ and BERZON, Circuit Judges

Appellee’s motion to dismiss this case for lack of jurisdiction is granted.
The district court’s order challenged in this appeal did not dispose of the action as
to all claims and all parties Therefore, this court lacks jurisdiction to hear this
appeal. See Fed. R. Civ. P. 54(b); Huene v. United States, 743 F.2d 703, 704 (9th
Cir. 1984) (a decision adjudicating all claims in an action is not final and `

appealable if consolidated actions remain undecided, unless the order is certified

under Fed. R. Civ. P. 54(b)); Chacon v. Babcock, 640 F.Zd 221 (9th Cir. 1981)

 

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02-56476

(summary judgment orders that do not dispose of all parties and all claims are not
final and appealable).
Appellee’$ motion for sanctions is denied

All other pending motions are denied as moot.

DISMISSED.

 

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CATHY CATTERSON
C|erk of Court

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INTERNAL USE ONLY: Proceedings include all events.
02-56476 Steere, et al v. Abercrombie & Fitch

GEORGE DOWNING, an individual
Plaintiff

PAUL STRAUCH, an individual
Plaintiff

RICK STEERE, an individual ._._i
Plaintiff » Appellant

RICHARD BUFFALO KEAULANA, an
individual
Plaintiff

BEN AIPA, an individual
Plaintiff

MIKE DOYLE, an individual
Plaintiff

JOEY CABELL, an individual
Plaintiff

V.

ABERCROMBIE & FITCH, an OhiO
Corporation
Defendant - Appellee j

Docket as of January 6, 2003 11:07 pm Page 2 NON-PUBLIC

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